                                UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF KANSAS AT KANSAS CITY

    In re:                                                   )
                                                             )
    Pinnacle Regional Hospital, Inc., et al.,1               )     Case No. 20-20219
                                                             )
              Debtors.                                       )     Chapter 7
                                                             )
                                                             )     (Jointly Administered)

                       TRUSTEE’S MOTION (No. 14) TO APPROVE (A) SALE OF
                   CERTAIN REAL PROPERTY FREE AND CLEAR OF ALL LIENS,
                         INTERESTS, CLAIMS AND ENCUMBRANCES, AND
                  (B) RELATED RELIEF PURSUANT TO 11 U.S.C. §§102, 105 AND 363

      COMES NOW James A. Overcash, not individually, but solely in his capacity as the Chapter

7 trustee in the above-captioned bankruptcy cases (the “Trustee”), submits this motion (No. 14)

(the “Motion”) for an order (the “Order”), pursuant to 11 U.S.C. §§ 102, 105, and 363, and Fed.

R. Bankr. P. 2002, 6004, and 9014 to approve (a) a sale of certain real property free and clear of

all liens, interests, claims and encumbrances, and (b) related relief. In support of this Motion, the

Trustee represents as follows:

                                               BACKGROUND

             1.      On February 12, 2020 (the “Commencement Date”), Pinnacle Regional Hospital

Inc. (“Pinnacle Hospital”), Blue Valley Surgical Associates, LLC (“BVSA”), Rojana Realty

Investments, Inc. (“Rojana”), and Joy’s Majestic Paradise, Inc., (“Joy’s” and together with the

other debtors, collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 title

11 of the United States Code (the “Bankruptcy Code”), thereby commencing the above-captioned

bankruptcy cases (collectively, the “Bankruptcy Cases”).



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 The Debtors in this case are: Pinnacle Regional Hospital, Inc., Case No. 20-20219; Blue Valley Surgical Associates,
LLC, Case No. 20-20222; Rojana Realty Investments, Inc., Case No. 20-20225; and Joy’s Majestic Paradise, Inc.,
Case No. 20-20227.


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         2.       On March 30, 2020, the Trustee was appointed as the chapter 11 trustee in the

Bankruptcy Cases (ECF No. 84).

         3.       On July 23, 2020, the Court entered its Order Granting Trustee’s Motion to Convert

Jointly-Administered Bankruptcy Cases to Chapter 7 of the Bankruptcy Code Pursuant to 11

U.S.C. 1112 (ECF No. 385) (the “Conversion Order”).

         4.       Pursuant to the Conversion Order, on July 31, 2020, the Bankruptcy Cases

converted to cases under Chapter 7 of the Bankruptcy Code.

         5.       On August 3, 2020, the Trustee was appointed as chapter 7 trustee in the

Bankruptcy Cases.

         6.       The Court has jurisdiction of this motion pursuant to 28 U.S.C. § 1334(b). This is

a core proceeding pursuant to 28 U.S.C. § 157(b) in that this motion seeks sale of property of the

estate and affects the administration of these bankruptcy cases. Venue is proper in this Court. 28

U.S.C. § 1409(a).

                                            SALE ASSET

         7.       One of the assets owned by Joy’s is property located in Bates County, Missouri as

more fully described on Exhibit A hereto (the “Real Estate”).

         8.       On September 11, 2020, the Court entered an Order and Findings of Facts and

Conclusions of Law Granting Trustee’s Motion (No. 5) to Approve (A) Sale of Certain Real

Property Free and Clear of All Liens, Interests, Claims and Encumbrances, and (B) Related Relief

Pursuant to 11 U.S.C. §§ 102, 105 and 363 (the “First Sale Order”) (ECF No. 478). In the First

Sale Order, the Court approve a sale of the Real Estate to MC Boedeker Agriculture Limited

Partnership, LTD, but the purchaser of the Real Estate has since changed.

                POTENTIAL ASSERTED INTERESTS IN THE REAL ESTATE



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          9.      Bates County, Missouri may claim a lien on the Real Estate to secure unpaid taxes

in the approximate amount of $1,631.89 plus applicable interest and penalties.

          10.     Eugene Dines and Marcella Dines, husband and wife (the “Dines”) may claim an

interest in the Real Estate pursuant to an Oil, Gas and Mineral Lease recorded in Book 543 at Page

94 in the Bates County, Missouri Recorder of Deeds Office (the “Dines Lease”). The Dines Lease

has expired by its terms and, accordingly, the Dines’ leasehold interest in the Real Estate has

terminated.

          11.     Great Western Bank (the “Bank”) claims a lien on the Real Estate pursuant to a

Deed of Trust, Security Agreement, Assignment of Leases and Rents and Fixture Filing Statement,

dated February 7, 2018 and recorded February 8, 2018 in Book 1024 at Page 1 in the Bates County,

Missouri Recorder of Deeds Office (the “Bank Deed of Trust”), securing all amounts owed by

Joy’s to the Bank. The Bank has consented to the sale of the Real Estate free and clear of the Bank

Deed of Trust with any lien of the Bank to attach to the net sale proceeds.

                                      THE PROPOSED SALE

          12.     The Trustee engaged Crown Realty (the “Broker”) to market and sell the Real

Estate.

          13.     On June 15, 2020, the Trustee received an offer from the Hohne Family Trust

and/or assigns (the “Purchaser”). After negotiating with the Purchaser, the Trustee and the

Purchaser agreed to a Residential Real Estate Sale Contract, as amended, a true and correct copy

of which is collectively attached as Exhibit B hereto (the “Purchase Agreement”).

          14.     Under the terms of the Purchase Agreement, the Purchaser will pay $158,000.00 in

cash for the Real Estate (the “Purchase Price”). The sale is conditioned upon approval by this

Court. The Purchaser also agreed to make an earnest money deposit in the amount of $2,500.00.



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         15.      The Trustee has reviewed the Purchase Agreement and determined that the

proposed sale is the best way to maximize the value of the Real Estate for these Bankruptcy Cases.

         16.      The Sale Proceeds will be disbursed at closing to satisfy the Bank Deed of Trust

and the Trustee will escrow the remaining Sale Proceeds pending further order of the Court.

         17.      The Purchase Price is equal to or more than the fair market value of the Real Estate.

         18.      In short, the Purchase Price represents the highest and best offer for the Real Estate.

                                BASIS FOR REQUESTED RELIEF

I.       Sale of Property under § 363 of the Bankruptcy Code

         19.      Section 363(b)(1) of the Bankruptcy Code provides: “The Trustee, after notice and

a hearing, may use, sell, or lease, other than in the ordinary course of business, property of the

estate.” 11 U.S.C. § 363(b). Section 105(a) of the Bankruptcy Code provides in relevant part:

“The Court may issue any order, process, or judgment that is necessary or appropriate to carry out

the provisions of this title.” 11 U.S.C. § 105(a).

         20.      A sale of assets of a debtor should be authorized pursuant to Section 363 of the

Bankruptcy Code if a sound business purpose exists for doing so, the proposed sale price is

reasonable, and the proposed buyer is proceeding in good faith. See, e.g., In re WK Lang Holdings,

LLC, Case No. 13-11934, 2013 WL 6579172, at *6 (Bankr. D. Kan. Dec. 12, 2013); Fulton State

Bank v. Schipper (In re Schipper), 933 F. 2d 513, 515 (7th Cir. 1991); Committee of Equity Sec.

Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1070 (2d Cir. 1993). The business

judgment rule shields a debtor’s management from judicial second-guessing. (“‘[T]he Code favors

the continued operation of a business by a debtor and a presumption of reasonableness attaches to

a debtor's management decisions.’”) In re Farmland Indus., Inc., 294 B.R. 903, 913 (Bankr. W.D.

Mo. 2003) (quoting In re Johns-Manville Corp., 60 B.R. 612, 615-16 (Bankr. S.D.N.Y. 1986)).



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Once the Debtors articulate a valid business justification, “[t]he business judgment rule ‘is a

presumption that, in making a business decision, the directors of a corporation acted on an

informed basis, in good faith and in the honest belief that the action was in the best interests of the

company.’” In re Integrated Resources, Inc., 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith

v. Van Gorkom, 488 A.2d 858, 872 (Del. 1985)).

         21.      As explained above, the Trustee has determined that the proposed sale of the Real

Estate to the Purchaser is the best way to maximize the value of the Real Estate for these

Bankruptcy Cases. Maximization of asset value is a sound business purpose, warranting

authorization of the sale. In addition, the sale price is reasonable and, as set forth herein, the

Purchaser is acting in good faith and is entitled to the protections of § 363(m) of the Bankruptcy

Code.

II.      Treatment of Potential Interests in the Real Estate

         22.      Any lien of Bates County, Missouri is to secure current taxes owed. As set forth

above, those taxes are significantly less than the sale price. Moreover, the taxes will be paid at

closing, thus extinguishing any such lien. Therefore, as to any tax lien, § 363(f) of the Bankruptcy

Code is not implicated because the sale will not be free and clear of any such tax lien, but rather

will result in the payment thereof at closing.

         23.      The Dines no longer hold an interest in the Real Estate; accordingly, the Real Estate

may be sold free and clear of the Dines Lease.

         24.      The Bank has consented to the sale of the Real Estate free and clear of the Bank

Deed of Trust on the condition that the Bank’s lien attaches the proceeds of the sale; accordingly,

the Real Estate may be sold free and clear of the Bank Deed of Trust under § 363(f) of the

Bankruptcy Code.



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III.     Good Faith Purchaser Under § 363(m) of the Bankruptcy Code

         25.      The Bankruptcy Code provides:

         The reversal or modification on appeal of an authorization under subsection (b) or
         (c) of this section of a sale or lease of property does not affect the validity of a sale
         or lease under such authorization to an entity that purchased or leased such property
         in good faith, whether or not such entity knew of the pendency of the appeal, unless
         such authorization and such sale or lease were stayed pending appeal.

11 U.S.C. § 363(m). While the Bankruptcy Code does not define "good faith," the Seventh Circuit

has held that:

         The requirement that a purchaser act in good faith . . . speaks to the integrity of his
         conduct in the course of the sale proceedings. Typically, the misconduct that would
         destroy a purchaser's good faith status at a judicial sale involves fraud, collusion
         between the purchaser and other bidders or the trustee, or an attempt to take grossly
         unfair advantage of other bidders.

In re Andy Frain Services, Inc., 798 F.2d 1113, 1125 (7th Cir. 1986) (emphasis omitted) (quoting

In re Rock Industries Machinery Corp., 572 F.2d 1195, 1198 (7th Cir. 1978) (interpreting

Bankruptcy Rule 805, the precursor of § 363(m)).

         26.      The Purchaser is a third party buyer unrelated to the Trustee or any of the Debtors

and the terms of the Purchase Agreement are fair and reasonable.

         27.      The Trustee submits that the Purchase Agreement is an arm-length transaction

entitled to the protections of § 363(m) of the Bankruptcy Code. See In re Trism, 328 F.3d 1003,

1006 (8th Cir. 2003).

IV.      Waiver of Fourteen-Day Stay Under Bankruptcy Rule 6004

         28.      Finally, pursuant to Bankruptcy Rule 6004(h), cause exists for the fourteen-day stay

set forth in Bankruptcy Rule 6004 to be waived. The Purchase Agreement expressly states that

time is of the essence in completing the sale transaction. In addition, no party will be prejudiced

by elimination of the stay because the Motion sufficiently protects the interests of all parties-in-

interest. Under the terms of the sale, the net proceeds will be held by the Trustee in a segregated

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account pending further order of the Court. Therefore, the Trustee requests that in the order

approving the sale, that the Court waive the 14-day waiting requirement of Rule 6004 so that, in

reliance on the order approving this Motion, the Trustee and the Purchaser can immediately close

the sale transaction.

                                            CONCLUSION

         29.      Based on the forgoing, the Trustee submits that the sale of the Real Estate is in the

best interests of the Debtors’ bankruptcy estates and should be approved. In conjunction therewith,

the Trustee requests the Court approve the sale of the Real Estate to the Purchaser under the terms

of the Purchase Agreement free and clear of all claims and interests, and find that the Purchaser is

a good faith purchaser and entitled to the protections of § 363(m) of the Bankruptcy Code.

Approval of these requests is in the best interests of their creditors and other interested parties and

will maintain, preserve and maximize the value of the Real Estate for the benefit of all creditors in

this case.

         WHEREFORE, for the reasons set forth herein, the Trustee requests that the Court grant

this Motion consistent with the averments set forth herein, and grant such other and further relief

as the Court deems just and proper.

                                                Respectfully submitted,


                                                STINSON LLP

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                                          COUNSEL FOR THE CHAPTER 7 TRUSTEE
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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on July 1, 2022, a true and correct copy of the

foregoing document was electronically filed with the court using the CM/ECF system, which sent

notification to all parties of interest participating in the CM/ECF System. Further, I certify that

copies of the foregoing document were forwarded via U.S. Mail, first class, postage prepaid and

properly addressed to the following:

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